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1:19-cv-1202




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION
JANE UTAUS-VA DOE                   §
     Plaintiff                      §
                                    §
vs.                                 §
                                    §      C.A. No. _________________
THE UNIVERSITY OF TEXAS             §
AT AUSTIN                           §
     Defendant                      §
                                    §
________________________________________________________________________

                         PLAINTIFF’S ORIGINAL COMPLAINT

          COMES NOW, Plaintiff “JANE UTAUS-VA DOE” to file her “Plaintiff’s

Original Complaint” as follows:

                                A. NATURE OF THE SUIT

          1.       Plaintiff Jane (defined hereafter) is a female. Jane has certain

Disabilities (defined hereafter) which have been registered with Defendant UTAustin

and Accommodations (defined hereafter) which were agreed to by Defendant

UTAustin. Unfortunately, Defendant UTAustin continues to ignore Jane’s

Accommodations and is discriminating against Jane as a result of Jane’s Disabilities.

Jane has attempted to resolve informally the issues set forth herein, but has been

unsuccessful. Jane has been left with no choice to file this Complaint for damages.



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          2.       Plaintiff Jane now files this original action for damages pursuant to:

                    (a)   Section 504 of the Rehabilitation, Comprehensive
                          Services, and Developmental Disabilities Act of 1978,
                          29 U.S.C. § 794; and

                   (b)    Title II of the Americans with Disabilities Act, 42
                          U.S.C.A. §§ 12131–50 (2011); and

          3.       Plaintiff “JANE UTAUS-VA DOE” (“Jane”) is an individual residing

in the State of Texas. Because of the privacy issues involved in this matter and the

real and eminent threat of further retaliation by Defendant, Jane is hereby exercising

her rights to proceed with this matter anonymously.

          4.       The need to protect the identity of Plaintiff Jane does not hinder the

defense of this matter by Defendant, for the facts are well known to the Defendant.

When applying the applicable tests (created by jurisprudence applicable to this Court)

to balance the needed protection of privacy versus any inconvenience to the

Defendant, the protection of Jane’s privacy prevails.

          5.       At such time as the Court might agree on procedures designed (a) to

protect the privacy of Plaintiff Jane and (b) to protect Plaintiff Jane from further

retaliation, Jane’s identity shall be disclosed.




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          6.       Defendant    THE     UNIVERSITY        OF    TEXAS      AT    AUSTIN

(“UTAustin”) is a public university operating in the State of Texas and may be served

with citation by serving Defendant’s President as follows:

                             The University of Texas at Austin
                      Attn: Gregory L. Fenves 110 Inner Campus Drive
                                   Stop G3400
                              Austin, Texas 78712

                               C. JURISDICTION and VENUE

          7.        The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under:

                   (a)   Section 504 of the Rehabilitation, Comprehensive
                         Services, and Developmental Disabilities Act of 1978, 29
                         U.S.C. § 794 (“Section 504”); and

                   (b)   Title II of the Americans with Disabilities Act (ADA), 42
                         U.S.C.A. §§ 12131–50 (2011) (“ADA”).

          8.       Venue is proper in the Western District of Texas (Austin Division)

because Defendant UTAustin operates its schools in, and from, Austin and Travis

County, Texas, which is within the Western District of Texas.

                                 B. FACTUAL ALLEGATIONS

                                     Who is Plaintiff Jane?

          9.       Plaintiff Jane is a student working on a Master’s Degree from Defendant

UTAustin.
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          10.      Before coming to Defendant UTAustin, Plaintiff Jane graduated from

Montana State University as a McNair Scholar.

          11.      McNair Scholars is a federal program by the US Department of

Education designed to prepare students for doctoral studies.

          12.      Participants in the McNair Scholars program are first generation college

students with financial need or members of a group that is traditionally

underrepresented. The goal of the McNair Scholars Program is to increase the number

of graduate degrees awarded to students from underrepresented segments of society.

          13.      Plaintiff Jane’s goal since high school has been to pursue her PhD in Art

History.

          14.      Plaintiff Jane applied for admission at Defendant UTAustin because in

2015, Defendant UTAustin was rated in the Top 10 universities for Art History

programs.

          15.      Upon enrollment in Defendant UTAustin, Plaintiff Jane took the

necessary steps to register for accommodations due to Jane’s federally recognized

disabilities (“Jane’s Disabilities”) as allowed by Jane’s Section 504 rights. As a result,

Jane was granted certain “Accommodations.” See Exhibits One and Two attached

hereto and incorporated herein for all purposes.


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          16.      Rather than truly acknowledging Plaintiff Jane’s Disabilities, Defendant

UTAustin pursued a path of failed Accommodations that has resulted in severe harm

to Jane’s personal and educational efforts.

          17.      Plaintiff   Jane’s   trouble   with   Defendant   UTAustin     increased

dramatically after Jane returned from an approved leave of absence.

          18.      After Plaintiff Jane returned from medical leave and rejoined her

program, Jane was harassed and discriminated against by the financial aid office and

Jane’s professors. During this time, she was also directed by a campus doctor to take

toxic levels of iodine as a course of medical treatment following Jane’s recent return

from medical leave.

          19.      As a result of such actions, Plaintiff Jane was spending a vast amount of

time coordinating between various offices to get information requested by

Defendant’s financial aid department (including confidential medical documents)

          20.      Because Defendant UTAustin’s financial aid office saw the words

“mental health” as one of the reasons for Plaintiff Jane’s medical leave of absence,

said office undertook an improper review to determine if Plaintiff Jane was healthy

enough to receive aid and continue classes with Defendant. In other words, Defendant

UTAustin wanted to make its own independent and illegal evaluation into Jane’s

Disabilities.
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          21.      As a result, Plaintiff Jane was then having to coordinate multiple weekly

doctor appointments, a part time job, class attendance, and homework. All the while,

Jane’s health was decreasing drastically.

          22.      Plaintiff Jane had to quit her part time job and take incompletes for

classes in order to finish her work. Such incompletes have been a constant struggle

with the financial aid department and her professors each semester, even though they

are Accommodations that Jane is allowed.

          23.      Plaintiff Jane was referred to a specialist who determined that the unsafe

amount of iodine Jane had been directed to take (by employees of Defendant

UTAustin) was poisoning Jane and caused her to develop Hashimoto’s Thyroiditis

(an autoimmune disease) being another disability to add to Jane’s Disabilities.

          24.      As a direct result of the iodine, Plaintiff Jane’s Disabilities issues have

since multiplied to include, but not limited to:

                   (a)   Thyroid nodule growth, triggering Hashimoto’s;

                   (b)    Chronic Fatigue Syndrome;

                   (c)   6+ migraines per month;

                   (d)   Digestive sensitivity (IBS);

                   (e)   40+ food/ingredient sensitivities;

                   (f)   Current infertility due to thyroid disease (may be long term);
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                   (g)   Crippling anxiety, stress and panic attacks;

                   (h)   Chronic pain and inflammation;

                   (i)   Disturbed sleep; and

                   (j)   Impaired cognition.

          25.       Defendant UTAustin’s foregoing acts as to Plaintiff Jane’s Disabilities

have resulted in far reaching negative impacts into Jane’s studies with Defendant,

including but not being limited to the following:

                   (a)   the destruction of Jane’s educational and professional

                         standing within Jane’s department among both professors

                         and peers;

                   (b)   forced Jane to decline acceptance into a prestigious

                         summer language school;

                   (c)    a drastic reduction in Jane’s performance resulting in

                         lower grades;

                   (d)   jeopardized Jane’s future of career progression; and

                   (e)   endangered Jane’s entire investment of time and money

                         into her education with Defendant.

          26.       In summary, Defendant UTAustin’s actions because of Jane’s

Disabilities denied Plaintiff Jane the right and, then, the ability to pursue the same
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opportunities available to others. As a result, Plaintiff Jane has been stigmatized and

scarred with Jane’s professors and department, despite being approved for

Accommodations due to Jane’s Disabilities.

          27.      Plaintiff Jane’s career field is highly competitive, small, and elitist; only

the best succeed.

          28.      Without positive recommendations from Plaintiff Jane’s professors,

who are highly acclaimed throughout the art history world, Jane’s higher educational

aspirations and future career goals come to a grinding stop. Based on the current view

held by Jane’s professors, because of Jane’s Disabilities, such references are most

unlikely.

          29.      Even Plaintiff Jane’s finishing the program and getting a Master’s

Degree from Defendant UTAustin will not make Jane eligible for most jobs in this

field.

          30.      Plaintiff Jane’s intelligence and discipline are not the issue impeding

Jane’s progress, but rather the dampening effect of Jane’s Disabilities (now including

chronic illness, chronic anxiety, fatigue and pain) which have resulted in Defendant

UTAustin viewing Jane as a failure, rather than the hero Jane truly is to continue the

fight.


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          31.      Most regrettably, Defendant UTAustin continues (a) to not provide the

Accommodations that Plaintiff Jane is legally entitled to, and (b) to take actions

against Jane because of Jane’s Disabilities (hereafter, the foregoing shall be

collectively referred to as the “Denials.”)

          32.      With Defendant UTAustin’s Denials, Plaintiff Jane’s graduation with

Jane’s Master’s Degree is continually at risk. For the purposes of this matter,

Defendant UTAustin’s Denials because of Jane’s Disabilities and Defendant

UTAustin’s failure to provide Plaintiff Jane’s Accommodations shall be collectively

referred to hereafter as the “Violations.”

                                          Harm to Jane.

          33.      Plaintiff Jane has suffered severe physical, emotional, and economic

harm as a result of the Violations committed by Defendant UTAustin and shall suffer

future physical, emotional, and economic harm.

          34.      The effects of the Violations upon Plaintiff Jane have severely impacted

Jane in many personal and physical manifestations, including but not being limited

to:

                   (a)   increased    food     and   medication   costs   due    to

                         sensitivities/allergies;

                   (b)   a limited availability of sensitivity friendly health
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                          products;

                    (c)   unpredictable digestive issues limit diet, food availability,

                          and social/travel options;

                    (d)   exponentially increased stress and anxiety;

                    (e)   greater emotional and relationship strain;

                    (f)   increased medical treatment and therapy appointments;

                    (g)   increased medical costs; and

                    (h)   a loss of ability to enjoy the same life opportunities

                          reasonably available to all others.

          35.       The harmful results being suffered by Plaintiff Jane caused by of the

Violations include but are not being limited to:

                    (a)   an extreme and wrongful compromise of Jane’s current

                          and future health;

                    (b)   a jeopardized educational investment of Jane’s time and

                          money;

                    (c)   the deprivation of Jane’s chance to enjoy the same

                          opportunities as others;

                    (d)   a radically increased financial burden;

                    (e)   an increased frequency of doctor visits;
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                    (f)   an increase frequency of specialists visits;

                    (g)   an increase of non-insurance covered medical treatments

                          (chiropractor);

                    (h)   an increased food and natural supplement costs;

                    (i)   an increased cost for allergy friendly health products;

                    (j)   possible long term infertility;

                    (k)   medication changes with cost increases;

                    (l)   increased therapy and counselling sessions and costs;

                    (m)   limited personal and professional travel opportunities

                          which are key for a career that performs abroad;

                    (n)   limited social opportunity;

                    (o)   chronic pain and fatigue;

                    (p)   chronic stress and anxiety;

                    (q)   limited general activity;

                    (r)   impaired cognition;

                    (s)   increased required amount of sleep;

                    (t)   no known course of treatment to cure autoimmune disease;

                          and

                    (u)   an increased risk of developing additional autoimmune
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                          diseases.

          36.       The Violations committed by Defendant as to Plaintiff Jane were

intentional and in bad faith, made with full knowledge that the damage to Plaintiff

Jane would follow Jane for the rest of Jane’s life, constituting conscious indifference

by Defendant UTAustin.

                       Defendant’s Action Under the Color of State Law.

          37.       The administrators, participating in Defendant UTAustin’s Violations as

to Plaintiff Jane, are the applicable persons delegated with implementing and were

implementing the policies and customs of Defendant UTAustin when committing the

Violations of Plaintiff Jane.

          38.       Further, if such policies are not, in fact written, each of the

administrators participating in Defendant UTAustin’s Violations as to Plaintiff Jane

were implementing the policies and customs of Defendant UTAustin in accord with

the customs and practices of Defendant UTAustin.

                                      Administrative Remedies.

          39.       There are no administrative remedy preconditions (“Preconditions”)

required prior to seeking relief under the laws being invoked herein by Plaintiff Jane.

Even if such Preconditions did exist, the actions of Defendant have shown that such

efforts would be futile or are otherwise moot.
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          40.       As a result of Defendant’s Violations targeted at Plaintiff Jane, Plaintiff

Jane was forced to engage an attorney and pursue this action to redress such wrongs.

          41.       All conditions precedent to Plaintiff Jane bringing these claims have

been met.

                           E. PLAINTIFF’S CAUSES OF ACTION

          42.       Plaintiff Jane incorporates by reference the facts set forth in Article D:

FACTUAL ALLEGATIONS hereof.

                         COUNT ONE: SECTION 504 VIOLATIONS

          43.       As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UTAustin falls under the

jurisdiction and requirements of Section 504.

          44.       As mandated by Section 504, Defendant UTAustin is prohibited from

discriminating against students having been diagnosed with various disabilities.

          45.       Plaintiff Jane’s Disabilities qualify as disabilities covered by Section

504, and Defendant UTAustin’s Violations against Jane are direct violations of

Section 504.

          46.       Defendant UTAustin’s Violations against Plaintiff Jane in violation of

Section 504 have caused Plaintiff Jane to suffer a loss of benefits and created

economic losses, including all actual, consequential, continuing, and future
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compensatory damages, for which Plaintiff Jane now sues in accord with Section 504.

          47.       Defendant UTAustin’s Violations against Plaintiff Jane in violation

of Section 504 have caused Plaintiff Jane to suffer mental and emotional distress

and damages, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Section

504.

                             COUNT TWO: ADA VIOLATIONS

          48.       As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UTAustin falls under the

jurisdiction and requirements of the ADA.

          49.       As mandated by the ADA, Defendant UTAustin is prohibited from

discriminating against students having been diagnosed with various disabilities.

          50.       Plaintiff Jane’s Disabilities qualify as disabilities covered by the ADA,

and Defendant UTAustin’s Violations against Jane are direct violations of Section

504.

          51.       Defendant UTAustin’s Violations against Plaintiff Jane in violation of

the ADA have caused Plaintiff Jane to suffer a loss of benefits and created economic

losses, including all actual, consequential, continuing, and future compensatory

damages, for which Plaintiff Jane now sues in accord with the ADA.
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          52.       Defendant UTAustin’s Violations against Plaintiff Jane in violation

of the ADA have caused Plaintiff Jane to suffer mental and emotional distress and

damages, including all actual, consequential, continuing, and future compensatory

damages, for which Plaintiff Jane now sues in accord with the ADA.

                      COUNT THREE: POST JUDGMENT INTEREST

          53.       Plaintiff Jane also requests post judgment interest as may be allowed by

applicable law.

                            COUNT FOUR: ATTORNEYS’ FEES

          54.       Plaintiff Jane should be awarded Jane’s reasonable and necessary

attorneys’ fees incurred in relation to the foregoing as allowed by applicable law.

                                  F.   REQUEST FOR JURY

          55.       Plaintiff Jane hereby requests that a jury be empaneled, and, that the

foregoing causes of actions and requests for relief be presented to such jury for

resolution.

                                  G. PRAYER FOR RELIEF

            WHEREFORE, Plaintiff Jane prays that: summons be issued upon

Defendant; upon final trial hereof, that judgment be entered in favor of Plaintiff Jane

for the actual and consequential damages set forth herein including post judgment

interest; that Plaintiff Jane be reimbursed her reasonable and necessary attorneys’

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fees required to bring this matter; all costs of Court be taxed against Defendant; and

that Plaintiff Jane have such further and other relief, general and special, both at law

or in equity, to which he may show herself to be justly entitled.

          Respectfully submitted,

                                           Gorman Law Firm, pllc



                                           By:
                                                 Terry P Gorman, Esq.
                                                 Texas Bar No. 08218200
                                                 tgorman@school-law.co
                                           901 Mopac Expressway South, Suite 300
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                                           ATTORNEYS FOR PLAINTIFF
                                           JANE UTAUS-VA DOE




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                                                              EXHIBIT ONE


7@)3ax.               DIVISION OF DTVERSITY AND COMMUNITY ENGAGEMENT



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         I^           THE UNIVERSITY OF TEXAS AT AUSTIN
-t
                                                              .
                       Services for Students with Disabiliries 700 West Dean Keetan St. A4100 ' Austin,
                                                                                                        TX 78712-1093
                       ddce.utixas.edu/disability.612) 471-6259'FAX (s12) 47s-7730 ' W (512) 410'6644




         June19,2077




          Re:                                           EID:

          To Whom It MaY Concern:

                             has requested that I forward information to you verifying
          her accommodation history ut fft" University of Texas at Austin.
          presented documentation of a disabitity and registered .with the Division o{
          biversity and Community Engagement - Services for Students withrDisabilities
          on October 15, 2015. ServGJ for Students with Disabilities aPProved the
          following accommodations for the duration of her graduate cafeer:

          o       Extended time (1.5x) for test taking and work completed in class, unless
                  speed is the factor being tested
          o       Test location in a reduced distraction environment
          o       permission to discuss possibility of flexibility with attendance. Final
                  determination made by instructor based on the structure of the course.
              o   permission to discuss approach instructor to discuss flexible deadlines. Final
                  determination made by instructor based on the structure of the course.
              o   Permission to audio taPe lecture
              o   Course load reduction
              o   Kurzweil sofrware


              If you have any questions please contact me at
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                                            EXHIBIT TWO




                                     FAMILY PRACTICE
                       Integrative Medicine and Total Wellness




January 23, 2019

RE:    LETTER OF MEDICAL NECESSITY
       Patient:
       Date of Birth:

To Whom It May Concern:

This letter serves as documentation that we have been actively managing and
monitoring                  health, including her Hashimoto's disease.

Please contact me if you have any questions.

Sincerely,   ?/
 ��
